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Case 2:07-cr-01048-VBF Document 155-2 Filed 10/19/09

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Page 10f3 Page ID #:54

UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
Plaintiff,
Vv.
CHARLES LEROY TWYMAN,

Defendant.

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Nos. CR 07-1048-VBF
CR 07-1142-VBF
CR 07-1143-VBF
CR 07-1163-VBF

PROPOSED] ORDER

This Court having considered the stipulation of the parties

hereby GRANTS the parties' request for a continuance of the trial

dates in the above-captioned cases. Defendant Charles Leroy

Twyman has indicated the knowing, voluntary, and intelligent

waiver of his right to a speedy trial through March 31, 2009.

The parties also have articulated their desire to continue to

engage in plea discussions.

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THIS COURT HEREBY FINDS pursuant to Title 18, United States
Code, Section 3161(h) (7) (B) (i) that failure to grant such a
continuance in the proceeding would be likely to make a
continuation of such proceeding impossible, or result ina
miscarriage of justice.

THIS COURT FURTHER FINDS, pursuant to Title 18, United
States Code, Section 3161(h) (7) (B) (iv), that failure to grant the
continuance in this case, which, taken as a whole, is not so
unusual or so complex as to fall within Title 18, United States
Code, Section 3161(h) (7) (B) (ii), would deny counsel for the
defendant the reasonable time necessary for effective
preparation, due to counsel's need for more time to review the
evidence and consider possible defenses, taking into account the
exercise of due diligence.

THIS COURT FURTHER FINDS, therefore, that pursuant to
Title 18, United States Code, Section 3161(h) (7) (A), the ends of
justice will best be served by a continuance, and that they
outweigh the best interests of the public and the defendant ina
speedy trial.

ACCORDINGLY, THIS COURT HEREBY ORDERS that the trial date of
November 10, 2009, at 8:30 a.m., shall be VACATED and continued
until March 2, 2010, at 8:30 a.m. The status conference
scheduled shall be scheduled to occur on February 22, 2010, at
11:00 a.m. The time period from November 10, 2009, through and

including March 31, 2010, shall be deemed excludable under

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the Speedy Trial Act, Title 18, United States Code, Section
3161 (h) (7) (A).

IT IS SO FOUND AND ORDERED.

Dated this day of October 2009.

 

HONORABLE VALERIE BAKER FAIRBANK
UNITED STATES DISTRICT JUDGE

Presented by:

s John J. Lulejian
JOHN J. LULEJTAN
SHAWN J. NELSON
Assistant United States Attorneys
Violent and Organized Crime Section

 
